        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 1 of 16



After Recording Return To:
____________________________________
____________________________________
____________________________________
____________________________________




____________________[Space Above This Line For Recording Data]___________________

                                              MORTGAGE

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined
in Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this
document are also provided in Section 16.

(A) “Security Instrument” means this document, which is dated _____________________,
_________, together with all Riders to this document.
(B) “Borrower” is __________________________________________________________.
Borrower is the mortgagor under this Security Instrument.
(C) “Lender” is ____________________________________________________________.
Lender is a ____________________________________ organized and existing under the laws
of __________________________________. Lender’s address is ________________________
_____________________________________________________________________. Lender is
the mortgagee under this Security Instrument.
(D) “Note” means the promissory note signed by Borrower and dated
___________________________________, _______________. The Note states that Borrower
owes Lender ___________________________________________________________________
Dollars (U.S. $______________________________________) plus interest. Borrower has
promised to pay this debt in regular Periodic Payments and to pay the debt in full not later than
______________________________________.
(E) “Property” means the property that is described below under the heading “Transfer of
Rights in the Property.”
(F) “Loan” means the debt evidenced by the Note, plus interest, any prepayment charges and
late charges due under the Note, and all sums due under this Security Instrument, plus interest.




PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 1 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 2 of 16



(G) “Riders” means all Riders to this Security Instrument that are executed by Borrower. The
following Riders are to be executed by Borrower [check box as applicable]:

     Adjustable Rate Rider         Condominium Rider                    Second Home Rider
     Balloon Rider                 Planned Unit Development Rider       Other(s) [specify] _____________
     1-4 Family Rider              Biweekly Payment Rider

(H) “Applicable Law” means all controlling applicable federal, state and local statutes,
regulations, ordinances and administrative rules and orders (that have the effect of law) as well as
all applicable final, non-appealable judicial opinions.
(I) “Community Association Dues, Fees, and Assessments” means all dues, fees, assessments
and other charges that are imposed on Borrower or the Property by a condominium association,
homeowners association or similar organization.
(J) “Electronic Funds Transfer” means any transfer of funds, other than a transaction
originated by check, draft, or similar paper instrument, which is initiated through an electronic
terminal, telephonic instrument, computer, or magnetic tape so as to order, instruct, or authorize
a financial institution to debit or credit an account. Such term includes, but is not limited to,
point-of-sale transfers, automated teller machine transactions, transfers initiated by telephone,
wire transfers, and automated clearinghouse transfers.
(K) “Escrow Items” means those items that are described in Section 3.
(L) “Miscellaneous Proceeds” means any compensation, settlement, award of damages, or
proceeds paid by any third party (other than insurance proceeds paid under the coverages
described in Section 5) for: (i) damage to, or destruction of, the Property; (ii) condemnation or
other taking of all or any part of the Property; (iii) conveyance in lieu of condemnation; or (iv)
misrepresentations of, or omissions as to, the value and/or condition of the Property.
(M) “Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or
default on, the Loan.
(N) “Periodic Payment” means the regularly scheduled amount due for (i) principal and interest
under the Note, plus (ii) any amounts under Section 3 of this Security Instrument.
(O) “RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and
its implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from
time to time, or any additional or successor legislation or regulation that governs the same
subject matter. As used in this Security Instrument, “RESPA” refers to all requirements and
restrictions that are imposed in regard to a “federally related mortgage loan” even if the Loan
does not qualify as a “federally related mortgage loan” under RESPA.
(P) “Successor in Interest of Borrower” means any party that has taken title to the Property,
whether or not that party has assumed Borrower’s obligations under the Note and/or this Security
Instrument.




PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT     Form 3039   1/01   (page 2 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 3 of 16



TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals,
extensions and modifications of the Note; and (ii) the performance of Borrower’s covenants and
agreements under this Security Instrument and the Note. For this purpose, Borrower does hereby
mortgage, grant and convey to Lender the following described property located in the
______________________________________ of ____________________________________:
        [Type of Recording Jurisdiction]                [Name of Recording Jurisdiction]




which currently has the address of __________________________________________________
                                                         [Street]
_______________________________, Pennsylvania ________________ (“Property Address”):
                 [City]                               [Zip Code]

       TOGETHER WITH all the improvements now or hereafter erected on the property, and
all easements, appurtenances, and fixtures now or hereafter a part of the property. All
replacements and additions shall also be covered by this Security Instrument. All of the
foregoing is referred to in this Security Instrument as the “Property.”

         BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby
conveyed and has the right to mortgage, grant and convey the Property and that the Property is
unencumbered, except for encumbrances of record. Borrower warrants and will defend generally
the title to the Property against all claims and demands, subject to any encumbrances of record.

       THIS SECURITY INSTRUMENT combines uniform covenants for national use and
non-uniform covenants with limited variations by jurisdiction to constitute a uniform security
instrument covering real property.

       UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
       1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late
Charges. Borrower shall pay when due the principal of, and interest on, the debt evidenced by
the Note and any prepayment charges and late charges due under the Note. Borrower shall also
pay funds for Escrow Items pursuant to Section 3. Payments due under the Note and this
Security Instrument shall be made in U.S. currency. However, if any check or other instrument
received by Lender as payment under the Note or this Security Instrument is returned to Lender
unpaid, Lender may require that any or all subsequent payments due under the Note and this
Security Instrument be made in one or more of the following forms, as selected by Lender: (a)
cash; (b) money order; (c) certified check, bank check, treasurer’s check or cashier’s check,
provided any such check is drawn upon an institution whose deposits are insured by a federal

PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 3 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 4 of 16



agency, instrumentality, or entity; or (d) Electronic Funds Transfer.
        Payments are deemed received by Lender when received at the location designated in the
Note or at such other location as may be designated by Lender in accordance with the notice
provisions in Section 15. Lender may return any payment or partial payment if the payment or
partial payments are insufficient to bring the Loan current. Lender may accept any payment or
partial payment insufficient to bring the Loan current, without waiver of any rights hereunder or
prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not
obligated to apply such payments at the time such payments are accepted. If each Periodic
Payment is applied as of its scheduled due date, then Lender need not pay interest on unapplied
funds. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan
current. If Borrower does not do so within a reasonable period of time, Lender shall either apply
such funds or return them to Borrower. If not applied earlier, such funds will be applied to the
outstanding principal balance under the Note immediately prior to foreclosure. No offset or
claim which Borrower might have now or in the future against Lender shall relieve Borrower
from making payments due under the Note and this Security Instrument or performing the
covenants and agreements secured by this Security Instrument.
        2. Application of Payments or Proceeds. Except as otherwise described in this
Section 2, all payments accepted and applied by Lender shall be applied in the following order of
priority: (a) interest due under the Note; (b) principal due under the Note; (c) amounts due under
Section 3. Such payments shall be applied to each Periodic Payment in the order in which it
became due. Any remaining amounts shall be applied first to late charges, second to any other
amounts due under this Security Instrument, and then to reduce the principal balance of the Note.
        If Lender receives a payment from Borrower for a delinquent Periodic Payment which
includes a sufficient amount to pay any late charge due, the payment may be applied to the
delinquent payment and the late charge. If more than one Periodic Payment is outstanding,
Lender may apply any payment received from Borrower to the repayment of the Periodic
Payments if, and to the extent that, each payment can be paid in full. To the extent that any
excess exists after the payment is applied to the full payment of one or more Periodic Payments,
such excess may be applied to any late charges due. Voluntary prepayments shall be applied first
to any prepayment charges and then as described in the Note.
        Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal
due under the Note shall not extend or postpone the due date, or change the amount, of the
Periodic Payments.
        3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic
Payments are due under the Note, until the Note is paid in full, a sum (the “Funds”) to provide
for payment of amounts due for: (a) taxes and assessments and other items which can attain
priority over this Security Instrument as a lien or encumbrance on the Property; (b) leasehold
payments or ground rents on the Property, if any; (c) premiums for any and all insurance required
by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or any sums payable by
Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in accordance with
the provisions of Section 10. These items are called “Escrow Items.” At origination or at any
time during the term of the Loan, Lender may require that Community Association Dues, Fees,
and Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be
an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to be paid
under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives

PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 4 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 5 of 16



Borrower’s obligation to pay the Funds for any or all Escrow Items. Lender may waive
Borrower’s obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such
waiver may only be in writing. In the event of such waiver, Borrower shall pay directly, when
and where payable, the amounts due for any Escrow Items for which payment of Funds has been
waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such
payment within such time period as Lender may require. Borrower’s obligation to make such
payments and to provide receipts shall for all purposes be deemed to be a covenant and
agreement contained in this Security Instrument, as the phrase “covenant and agreement” is used
in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under
Section 9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to
Lender any such amount. Lender may revoke the waiver as to any or all Escrow Items at any
time by a notice given in accordance with Section 15 and, upon such revocation, Borrower shall
pay to Lender all Funds, and in such amounts, that are then required under this Section 3.
        Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit
Lender to apply the Funds at the time specified under RESPA, and (b) not to exceed the
maximum amount a lender can require under RESPA. Lender shall estimate the amount of
Funds due on the basis of current data and reasonable estimates of expenditures of future Escrow
Items or otherwise in accordance with Applicable Law.
        The Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so
insured) or in any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow
Items no later than the time specified under RESPA. Lender shall not charge Borrower for
holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow
Items, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to
make such a charge. Unless an agreement is made in writing or Applicable Law requires interest
to be paid on the Funds, Lender shall not be required to pay Borrower any interest or earnings on
the Funds. Borrower and Lender can agree in writing, however, that interest shall be paid on the
Funds. Lender shall give to Borrower, without charge, an annual accounting of the Funds as
required by RESPA.
        If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall
account to Borrower for the excess funds in accordance with RESPA. If there is a shortage of
Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required by
RESPA, and Borrower shall pay to Lender the amount necessary to make up the shortage in
accordance with RESPA, but in no more than 12 monthly payments. If there is a deficiency of
Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required by
RESPA, and Borrower shall pay to Lender the amount necessary to make up the deficiency in
accordance with RESPA, but in no more than 12 monthly payments.
        Upon payment in full of all sums secured by this Security Instrument, Lender shall
promptly refund to Borrower any Funds held by Lender.
        4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and
impositions attributable to the Property which can attain priority over this Security Instrument,
leasehold payments or ground rents on the Property, if any, and Community Association Dues,
Fees, and Assessments, if any. To the extent that these items are Escrow Items, Borrower shall
pay them in the manner provided in Section 3.

PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 5 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 6 of 16



        Borrower shall promptly discharge any lien which has priority over this Security
Instrument unless Borrower: (a) agrees in writing to the payment of the obligation secured by the
lien in a manner acceptable to Lender, but only so long as Borrower is performing such
agreement; (b) contests the lien in good faith by, or defends against enforcement of the lien in,
legal proceedings which in Lender’s opinion operate to prevent the enforcement of the lien while
those proceedings are pending, but only until such proceedings are concluded; or (c) secures from
the holder of the lien an agreement satisfactory to Lender subordinating the lien to this Security
Instrument. If Lender determines that any part of the Property is subject to a lien which can
attain priority over this Security Instrument, Lender may give Borrower a notice identifying the
lien. Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or
take one or more of the actions set forth above in this Section 4.
        Lender may require Borrower to pay a one-time charge for a real estate tax verification
and/or reporting service used by Lender in connection with this Loan.
        5. Property Insurance. Borrower shall keep the improvements now existing or
hereafter erected on the Property insured against loss by fire, hazards included within the term
“extended coverage,” and any other hazards including, but not limited to, earthquakes and floods,
for which Lender requires insurance. This insurance shall be maintained in the amounts
(including deductible levels) and for the periods that Lender requires. What Lender requires
pursuant to the preceding sentences can change during the term of the Loan. The insurance
carrier providing the insurance shall be chosen by Borrower subject to Lender’s right to
disapprove Borrower’s choice, which right shall not be exercised unreasonably. Lender may
require Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood
zone determination, certification and tracking services; or (b) a one-time charge for flood zone
determination and certification services and subsequent charges each time remappings or similar
changes occur which reasonably might affect such determination or certification. Borrower shall
also be responsible for the payment of any fees imposed by the Federal Emergency Management
Agency in connection with the review of any flood zone determination resulting from an
objection by Borrower.
        If Borrower fails to maintain any of the coverages described above, Lender may obtain
insurance coverage, at Lender’s option and Borrower’s expense. Lender is under no obligation to
purchase any particular type or amount of coverage. Therefore, such coverage shall cover
Lender, but might or might not protect Borrower, Borrower’s equity in the Property, or the
contents of the Property, against any risk, hazard or liability and might provide greater or lesser
coverage than was previously in effect. Borrower acknowledges that the cost of the insurance
coverage so obtained might significantly exceed the cost of insurance that Borrower could have
obtained. Any amounts disbursed by Lender under this Section 5 shall become additional debt of
Borrower secured by this Security Instrument. These amounts shall bear interest at the Note rate
from the date of disbursement and shall be payable, with such interest, upon notice from Lender
to Borrower requesting payment.
        All insurance policies required by Lender and renewals of such policies shall be subject to
Lender’s right to disapprove such policies, shall include a standard mortgage clause, and shall
name Lender as mortgagee and/or as an additional loss payee. Lender shall have the right to hold
the policies and renewal certificates. If Lender requires, Borrower shall promptly give to Lender
all receipts of paid premiums and renewal notices. If Borrower obtains any form of insurance
coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such

PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 6 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 7 of 16



policy shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an
additional loss payee.
        In the event of loss, Borrower shall give prompt notice to the insurance carrier and
Lender. Lender may make proof of loss if not made promptly by Borrower. Unless Lender and
Borrower otherwise agree in writing, any insurance proceeds, whether or not the underlying
insurance was required by Lender, shall be applied to restoration or repair of the Property, if the
restoration or repair is economically feasible and Lender’s security is not lessened. During such
repair and restoration period, Lender shall have the right to hold such insurance proceeds until
Lender has had an opportunity to inspect such Property to ensure the work has been completed to
Lender’s satisfaction, provided that such inspection shall be undertaken promptly. Lender may
disburse proceeds for the repairs and restoration in a single payment or in a series of progress
payments as the work is completed. Unless an agreement is made in writing or Applicable Law
requires interest to be paid on such insurance proceeds, Lender shall not be required to pay
Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third
parties, retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole
obligation of Borrower. If the restoration or repair is not economically feasible or Lender’s
security would be lessened, the insurance proceeds shall be applied to the sums secured by this
Security Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such
insurance proceeds shall be applied in the order provided for in Section 2.
        If Borrower abandons the Property, Lender may file, negotiate and settle any available
insurance claim and related matters. If Borrower does not respond within 30 days to a notice
from Lender that the insurance carrier has offered to settle a claim, then Lender may negotiate
and settle the claim. The 30-day period will begin when the notice is given. In either event, or if
Lender acquires the Property under Section 22 or otherwise, Borrower hereby assigns to Lender
(a) Borrower’s rights to any insurance proceeds in an amount not to exceed the amounts unpaid
under the Note or this Security Instrument, and (b) any other of Borrower’s rights (other than the
right to any refund of unearned premiums paid by Borrower) under all insurance policies
covering the Property, insofar as such rights are applicable to the coverage of the Property.
Lender may use the insurance proceeds either to repair or restore the Property or to pay amounts
unpaid under the Note or this Security Instrument, whether or not then due.
        6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower’s
principal residence within 60 days after the execution of this Security Instrument and shall
continue to occupy the Property as Borrower’s principal residence for at least one year after the
date of occupancy, unless Lender otherwise agrees in writing, which consent shall not be
unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower’s
control.
        7. Preservation, Maintenance and Protection of the Property; Inspections.
Borrower shall not destroy, damage or impair the Property, allow the Property to deteriorate or
commit waste on the Property. Whether or not Borrower is residing in the Property, Borrower
shall maintain the Property in order to prevent the Property from deteriorating or decreasing in
value due to its condition. Unless it is determined pursuant to Section 5 that repair or restoration
is not economically feasible, Borrower shall promptly repair the Property if damaged to avoid
further deterioration or damage. If insurance or condemnation proceeds are paid in connection
with damage to, or the taking of, the Property, Borrower shall be responsible for repairing or
restoring the Property only if Lender has released proceeds for such purposes. Lender may

PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 7 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 8 of 16



disburse proceeds for the repairs and restoration in a single payment or in a series of progress
payments as the work is completed. If the insurance or condemnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Borrower’s obligation for the
completion of such repair or restoration.
         Lender or its agent may make reasonable entries upon and inspections of the Property. If
it has reasonable cause, Lender may inspect the interior of the improvements on the Property.
Lender shall give Borrower notice at the time of or prior to such an interior inspection specifying
such reasonable cause.
         8.      Borrower’s Loan Application. Borrower shall be in default if, during the Loan
application process, Borrower or any persons or entities acting at the direction of Borrower or
with Borrower’s knowledge or consent gave materially false, misleading, or inaccurate
information or statements to Lender (or failed to provide Lender with material information) in
connection with the Loan.           Material representations include, but are not limited to,
representations concerning Borrower’s occupancy of the Property as Borrower’s principal
residence.
         9. Protection of Lender’s Interest in the Property and Rights Under this Security
Instrument. If (a) Borrower fails to perform the covenants and agreements contained in this
Security Instrument, (b) there is a legal proceeding that might significantly affect Lender’s
interest in the Property and/or rights under this Security Instrument (such as a proceeding in
bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may attain
priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has
abandoned the Property, then Lender may do and pay for whatever is reasonable or appropriate to
protect Lender’s interest in the Property and rights under this Security Instrument, including
protecting and/or assessing the value of the Property, and securing and/or repairing the Property.
Lender’s actions can include, but are not limited to: (a) paying any sums secured by a lien which
has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable
attorneys’ fees to protect its interest in the Property and/or rights under this Security Instrument,
including its secured position in a bankruptcy proceeding. Securing the Property includes, but is
not limited to, entering the Property to make repairs, change locks, replace or board up doors and
windows, drain water from pipes, eliminate building or other code violations or dangerous
conditions, and have utilities turned on or off. Although Lender may take action under this
Section 9, Lender does not have to do so and is not under any duty or obligation to do so. It is
agreed that Lender incurs no liability for not taking any or all actions authorized under this
Section 9.
         Any amounts disbursed by Lender under this Section 9 shall become additional debt of
Borrower secured by this Security Instrument. These amounts shall bear interest at the Note rate
from the date of disbursement and shall be payable, with such interest, upon notice from Lender
to Borrower requesting payment.
         If this Security Instrument is on a leasehold, Borrower shall comply with all the
provisions of the lease. If Borrower acquires fee title to the Property, the leasehold and the fee
title shall not merge unless Lender agrees to the merger in writing.
         10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of
making the Loan, Borrower shall pay the premiums required to maintain the Mortgage Insurance
in effect. If, for any reason, the Mortgage Insurance coverage required by Lender ceases to be
available from the mortgage insurer that previously provided such insurance and Borrower was

PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 8 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 9 of 16



required to make separately designated payments toward the premiums for Mortgage Insurance,
Borrower shall pay the premiums required to obtain coverage substantially equivalent to the
Mortgage Insurance previously in effect, at a cost substantially equivalent to the cost to Borrower
of the Mortgage Insurance previously in effect, from an alternate mortgage insurer selected by
Lender. If substantially equivalent Mortgage Insurance coverage is not available, Borrower shall
continue to pay to Lender the amount of the separately designated payments that were due when
the insurance coverage ceased to be in effect. Lender will accept, use and retain these payments
as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be non-
refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not
be required to pay Borrower any interest or earnings on such loss reserve. Lender can no longer
require loss reserve payments if Mortgage Insurance coverage (in the amount and for the period
that Lender requires) provided by an insurer selected by Lender again becomes available, is
obtained, and Lender requires separately designated payments toward the premiums for Mortgage
Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and
Borrower was required to make separately designated payments toward the premiums for
Mortgage Insurance, Borrower shall pay the premiums required to maintain Mortgage Insurance
in effect, or to provide a non-refundable loss reserve, until Lender’s requirement for Mortgage
Insurance ends in accordance with any written agreement between Borrower and Lender
providing for such termination or until termination is required by Applicable Law. Nothing in
this Section 10 affects Borrower’s obligation to pay interest at the rate provided in the Note.
        Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain
losses it may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the
Mortgage Insurance.
        Mortgage insurers evaluate their total risk on all such insurance in force from time to
time, and may enter into agreements with other parties that share or modify their risk, or reduce
losses. These agreements are on terms and conditions that are satisfactory to the mortgage insurer
and the other party (or parties) to these agreements. These agreements may require the mortgage
insurer to make payments using any source of funds that the mortgage insurer may have available
(which may include funds obtained from Mortgage Insurance premiums).
        As a result of these agreements, Lender, any purchaser of the Note, another insurer, any
reinsurer, any other entity, or any affiliate of any of the foregoing, may receive (directly or
indirectly) amounts that derive from (or might be characterized as) a portion of Borrower’s
payments for Mortgage Insurance, in exchange for sharing or modifying the mortgage insurer’s
risk, or reducing losses. If such agreement provides that an affiliate of Lender takes a share of
the insurer’s risk in exchange for a share of the premiums paid to the insurer, the arrangement is
often termed “captive reinsurance.” Further:
        (a)     Any such agreements will not affect the amounts that Borrower has agreed to
pay for Mortgage Insurance, or any other terms of the Loan. Such agreements will not
increase the amount Borrower will owe for Mortgage Insurance, and they will not entitle
Borrower to any refund.
        (b)     Any such agreements will not affect the rights Borrower has - if any - with
respect to the Mortgage Insurance under the Homeowners Protection Act of 1998 or any
other law. These rights may include the right to receive certain disclosures, to request and
obtain cancellation of the Mortgage Insurance, to have the Mortgage Insurance terminated
automatically, and/or to receive a refund of any Mortgage Insurance premiums that were

PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 9 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 10 of 16



unearned at the time of such cancellation or termination.
        11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds
are hereby assigned to and shall be paid to Lender.
        If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or
repair of the Property, if the restoration or repair is economically feasible and Lender’s security is
not lessened. During such repair and restoration period, Lender shall have the right to hold such
Miscellaneous Proceeds until Lender has had an opportunity to inspect such Property to ensure
the work has been completed to Lender’s satisfaction, provided that such inspection shall be
undertaken promptly. Lender may pay for the repairs and restoration in a single disbursement or
in a series of progress payments as the work is completed. Unless an agreement is made in
writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds, Lender
shall not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds.
If the restoration or repair is not economically feasible or Lender’s security would be lessened,
the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument,
whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds
shall be applied in the order provided for in Section 2.
        In the event of a total taking, destruction, or loss in value of the Property, the
Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument, whether
or not then due, with the excess, if any, paid to Borrower.
        In the event of a partial taking, destruction, or loss in value of the Property in which the
fair market value of the Property immediately before the partial taking, destruction, or loss in
value is equal to or greater than the amount of the sums secured by this Security Instrument
immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender
otherwise agree in writing, the sums secured by this Security Instrument shall be reduced by the
amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount
of the sums secured immediately before the partial taking, destruction, or loss in value divided by
(b) the fair market value of the Property immediately before the partial taking, destruction, or loss
in value. Any balance shall be paid to Borrower.
        In the event of a partial taking, destruction, or loss in value of the Property in which the
fair market value of the Property immediately before the partial taking, destruction, or loss in
value is less than the amount of the sums secured immediately before the partial taking,
destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the
Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether
or not the sums are then due.
        If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that
the Opposing Party (as defined in the next sentence) offers to make an award to settle a claim for
damages, Borrower fails to respond to Lender within 30 days after the date the notice is given,
Lender is authorized to collect and apply the Miscellaneous Proceeds either to restoration or
repair of the Property or to the sums secured by this Security Instrument, whether or not then due.
“Opposing Party” means the third party that owes Borrower Miscellaneous Proceeds or the party
against whom Borrower has a right of action in regard to Miscellaneous Proceeds.
        Borrower shall be in default if any action or proceeding, whether civil or criminal, is
begun that, in Lender’s judgment, could result in forfeiture of the Property or other material
impairment of Lender’s interest in the Property or rights under this Security Instrument.
Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in

PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 10 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 11 of 16



Section 19, by causing the action or proceeding to be dismissed with a ruling that, in Lender’s
judgment, precludes forfeiture of the Property or other material impairment of Lender’s interest
in the Property or rights under this Security Instrument. The proceeds of any award or claim for
damages that are attributable to the impairment of Lender’s interest in the Property are hereby
assigned and shall be paid to Lender.
        All Miscellaneous Proceeds that are not applied to restoration or repair of the Property
shall be applied in the order provided for in Section 2.
        12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of
the time for payment or modification of amortization of the sums secured by this Security
Instrument granted by Lender to Borrower or any Successor in Interest of Borrower shall not
operate to release the liability of Borrower or any Successors in Interest of Borrower. Lender
shall not be required to commence proceedings against any Successor in Interest of Borrower or
to refuse to extend time for payment or otherwise modify amortization of the sums secured by
this Security Instrument by reason of any demand made by the original Borrower or any
Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy
including, without limitation, Lender’s acceptance of payments from third persons, entities or
Successors in Interest of Borrower or in amounts less than the amount then due, shall not be a
waiver of or preclude the exercise of any right or remedy.
        13. Joint and Several Liability; Co-signers; Successors and Assigns Bound.
Borrower covenants and agrees that Borrower’s obligations and liability shall be joint and
several. However, any Borrower who co-signs this Security Instrument but does not execute the
Note (a “co-signer”): (a) is co-signing this Security Instrument only to mortgage, grant and
convey the co-signer’s interest in the Property under the terms of this Security Instrument; (b) is
not personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that
Lender and any other Borrower can agree to extend, modify, forbear or make any
accommodations with regard to the terms of this Security Instrument or the Note without the co-
signer’s consent.
        Subject to the provisions of Section 18, any Successor in Interest of Borrower who
assumes Borrower’s obligations under this Security Instrument in writing, and is approved by
Lender, shall obtain all of Borrower’s rights and benefits under this Security Instrument.
Borrower shall not be released from Borrower’s obligations and liability under this Security
Instrument unless Lender agrees to such release in writing. The covenants and agreements of this
Security Instrument shall bind (except as provided in Section 20) and benefit the successors and
assigns of Lender.
        14. Loan Charges. Lender may charge Borrower fees for services performed in
connection with Borrower’s default, for the purpose of protecting Lender’s interest in the
Property and rights under this Security Instrument, including, but not limited to, attorneys’ fees,
property inspection and valuation fees. In regard to any other fees, the absence of express
authority in this Security Instrument to charge a specific fee to Borrower shall not be construed as
a prohibition on the charging of such fee. Lender may not charge fees that are expressly
prohibited by this Security Instrument or by Applicable Law.
        If the Loan is subject to a law which sets maximum loan charges, and that law is finally
interpreted so that the interest or other loan charges collected or to be collected in connection
with the Loan exceed the permitted limits, then: (a) any such loan charge shall be reduced by the
amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected

PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 11 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 12 of 16



from Borrower which exceeded permitted limits will be refunded to Borrower. Lender may
choose to make this refund by reducing the principal owed under the Note or by making a direct
payment to Borrower. If a refund reduces principal, the reduction will be treated as a partial
prepayment without any prepayment charge (whether or not a prepayment charge is provided for
under the Note). Borrower’s acceptance of any such refund made by direct payment to Borrower
will constitute a waiver of any right of action Borrower might have arising out of such
overcharge.
        15. Notices. All notices given by Borrower or Lender in connection with this Security
Instrument must be in writing. Any notice to Borrower in connection with this Security
Instrument shall be deemed to have been given to Borrower when mailed by first class mail or
when actually delivered to Borrower’s notice address if sent by other means. Notice to any one
Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires
otherwise. The notice address shall be the Property Address unless Borrower has designated a
substitute notice address by notice to Lender. Borrower shall promptly notify Lender of
Borrower’s change of address. If Lender specifies a procedure for reporting Borrower’s change
of address, then Borrower shall only report a change of address through that specified procedure.
There may be only one designated notice address under this Security Instrument at any one time.
 Any notice to Lender shall be given by delivering it or by mailing it by first class mail to
Lender’s address stated herein unless Lender has designated another address by notice to
Borrower. Any notice in connection with this Security Instrument shall not be deemed to have
been given to Lender until actually received by Lender. If any notice required by this Security
Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy
the corresponding requirement under this Security Instrument.
        16. Governing Law; Severability; Rules of Construction. This Security Instrument
shall be governed by federal law and the law of the jurisdiction in which the Property is located.
All rights and obligations contained in this Security Instrument are subject to any requirements
and limitations of Applicable Law. Applicable Law might explicitly or implicitly allow the
parties to agree by contract or it might be silent, but such silence shall not be construed as a
prohibition against agreement by contract. In the event that any provision or clause of this
Security Instrument or the Note conflicts with Applicable Law, such conflict shall not affect
other provisions of this Security Instrument or the Note which can be given effect without the
conflicting provision.
        As used in this Security Instrument: (a) words of the masculine gender shall mean and
include corresponding neuter words or words of the feminine gender; (b) words in the singular
shall mean and include the plural and vice versa; and (c) the word “may” gives sole discretion
without any obligation to take any action.
        17. Borrower’s Copy. Borrower shall be given one copy of the Note and of this
Security Instrument.
        18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this
Section 18, “Interest in the Property” means any legal or beneficial interest in the Property,
including, but not limited to, those beneficial interests transferred in a bond for deed, contract for
deed, installment sales contract or escrow agreement, the intent of which is the transfer of title by
Borrower at a future date to a purchaser.
        If all or any part of the Property or any Interest in the Property is sold or transferred (or if
Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred)

PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 12 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 13 of 16



without Lender’s prior written consent, Lender may require immediate payment in full of all
sums secured by this Security Instrument. However, this option shall not be exercised by Lender
if such exercise is prohibited by Applicable Law.
         If Lender exercises this option, Lender shall give Borrower notice of acceleration. The
notice shall provide a period of not less than 30 days from the date the notice is given in
accordance with Section 15 within which Borrower must pay all sums secured by this Security
Instrument. If Borrower fails to pay these sums prior to the expiration of this period, Lender may
invoke any remedies permitted by this Security Instrument without further notice or demand on
Borrower.
         19. Borrower’s Right to Reinstate After Acceleration. If Borrower meets certain
conditions, Borrower shall have the right to have enforcement of this Security Instrument
discontinued at any time prior to the earliest of: (a) five days before sale of the Property pursuant
to any power of sale contained in this Security Instrument; (b) such other period as Applicable
Law might specify for the termination of Borrower’s right to reinstate; or (c) entry of a judgment
enforcing this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums
which then would be due under this Security Instrument and the Note as if no acceleration had
occurred; (b) cures any default of any other covenants or agreements; (c) pays all expenses
incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys’
fees, property inspection and valuation fees, and other fees incurred for the purpose of protecting
Lender’s interest in the Property and rights under this Security Instrument; and (d) takes such
action as Lender may reasonably require to assure that Lender’s interest in the Property and rights
under this Security Instrument, and Borrower’s obligation to pay the sums secured by this
Security Instrument, shall continue unchanged. Lender may require that Borrower pay such
reinstatement sums and expenses in one or more of the following forms, as selected by Lender:
(a) cash; (b) money order; (c) certified check, bank check, treasurer’s check or cashier’s check,
provided any such check is drawn upon an institution whose deposits are insured by a federal
agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by
Borrower, this Security Instrument and obligations secured hereby shall remain fully effective as
if no acceleration had occurred. However, this right to reinstate shall not apply in the case of
acceleration under Section 18.
         20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a
partial interest in the Note (together with this Security Instrument) can be sold one or more times
without prior notice to Borrower. A sale might result in a change in the entity (known as the
“Loan Servicer”) that collects Periodic Payments due under the Note and this Security Instrument
and performs other mortgage loan servicing obligations under the Note, this Security Instrument,
and Applicable Law. There also might be one or more changes of the Loan Servicer unrelated to
a sale of the Note. If there is a change of the Loan Servicer, Borrower will be given written
notice of the change which will state the name and address of the new Loan Servicer, the address
to which payments should be made and any other information RESPA requires in connection
with a notice of transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a
Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations to
Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and
are not assumed by the Note purchaser unless otherwise provided by the Note purchaser.
         Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as
either an individual litigant or the member of a class) that arises from the other party’s actions

PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 13 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 14 of 16



pursuant to this Security Instrument or that alleges that the other party has breached any
provision of, or any duty owed by reason of, this Security Instrument, until such Borrower or
Lender has notified the other party (with such notice given in compliance with the requirements
of Section 15) of such alleged breach and afforded the other party hereto a reasonable period after
the giving of such notice to take corrective action. If Applicable Law provides a time period
which must elapse before certain action can be taken, that time period will be deemed to be
reasonable for purposes of this paragraph. The notice of acceleration and opportunity to cure
given to Borrower pursuant to Section 22 and the notice of acceleration given to Borrower
pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
action provisions of this Section 20.
        21. Hazardous Substances. As used in this Section 21: (a) “Hazardous Substances”
are those substances defined as toxic or hazardous substances, pollutants, or wastes by
Environmental Law and the following substances: gasoline, kerosene, other flammable or toxic
petroleum products, toxic pesticides and herbicides, volatile solvents, materials containing
asbestos or formaldehyde, and radioactive materials; (b) “Environmental Law” means federal
laws and laws of the jurisdiction where the Property is located that relate to health, safety or
environmental protection; (c) ”Environmental Cleanup” includes any response action, remedial
action, or removal action, as defined in Environmental Law; and (d) an “Environmental
Condition” means a condition that can cause, contribute to, or otherwise trigger an
Environmental Cleanup.
        Borrower shall not cause or permit the presence, use, disposal, storage, or release of any
Hazardous Substances, or threaten to release any Hazardous Substances, on or in the Property.
Borrower shall not do, nor allow anyone else to do, anything affecting the Property (a) that is in
violation of any Environmental Law, (b) which creates an Environmental Condition, or (c)
which, due to the presence, use, or release of a Hazardous Substance, creates a condition that
adversely affects the value of the Property. The preceding two sentences shall not apply to the
presence, use, or storage on the Property of small quantities of Hazardous Substances that are
generally recognized to be appropriate to normal residential uses and to maintenance of the
Property (including, but not limited to, hazardous substances in consumer products).
        Borrower shall promptly give Lender written notice of (a) any investigation, claim,
demand, lawsuit or other action by any governmental or regulatory agency or private party
involving the Property and any Hazardous Substance or Environmental Law of which Borrower
has actual knowledge, (b) any Environmental Condition, including but not limited to, any
spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any
condition caused by the presence, use or release of a Hazardous Substance which adversely
affects the value of the Property. If Borrower learns, or is notified by any governmental or
regulatory authority, or any private party, that any removal or other remediation of any
Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all
necessary remedial actions in accordance with Environmental Law. Nothing herein shall create
any obligation on Lender for an Environmental Cleanup.

       NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as
follows:
       22. Acceleration; Remedies. Lender shall give notice to Borrower prior to
acceleration following Borrower’s breach of any covenant or agreement in this Security

PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 14 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 15 of 16



Instrument (but not prior to acceleration under Section 18 unless Applicable Law provides
otherwise). Lender shall notify Borrower of, among other things: (a) the default; (b) the
action required to cure the default; (c) when the default must be cured; and (d) that failure
to cure the default as specified may result in acceleration of the sums secured by this
Security Instrument, foreclosure by judicial proceeding and sale of the Property. Lender
shall further inform Borrower of the right to reinstate after acceleration and the right to
assert in the foreclosure proceeding the non-existence of a default or any other defense of
Borrower to acceleration and foreclosure. If the default is not cured as specified, Lender at
its option may require immediate payment in full of all sums secured by this Security
Instrument without further demand and may foreclose this Security Instrument by judicial
proceeding. Lender shall be entitled to collect all expenses incurred in pursuing the
remedies provided in this Section 22, including, but not limited to, attorneys’ fees and costs
of title evidence to the extent permitted by Applicable Law.
         23. Release. Upon payment of all sums secured by this Security Instrument, this
Security Instrument and the estate conveyed shall terminate and become void. After such
occurrence, Lender shall discharge and satisfy this Security Instrument. Borrower shall pay any
recordation costs. Lender may charge Borrower a fee for releasing this Security Instrument, but
only if the fee is paid to a third party for services rendered and the charging of the fee is
permitted under Applicable Law.
         24. Waivers. Borrower, to the extent permitted by Applicable Law, waives and
releases any error or defects in proceedings to enforce this Security Instrument, and hereby
waives the benefit of any present or future laws providing for stay of execution, extension of
time, exemption from attachment, levy and sale, and homestead exemption.
         25. Reinstatement Period. Borrower’s time to reinstate provided in Section 19 shall
extend to one hour prior to the commencement of bidding at a sheriff's sale or other sale pursuant
to this Security Instrument.
         26. Purchase Money Mortgage. If any of the debt secured by this Security Instrument
is lent to Borrower to acquire title to the Property, this Security Instrument shall be a purchase
money mortgage.
         27. Interest Rate After Judgment. Borrower agrees that the interest rate payable after
a judgment is entered on the Note or in an action of mortgage foreclosure shall be the rate
payable from time to time under the Note.




PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 15 of 16 pages)
        Case 2:12-cv-04556-CMR Document 3-12 Filed 08/15/12 Page 16 of 16



       BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants
contained in this Security Instrument and in any Rider executed by Borrower and recorded with
it.

Witnesses:


________________________________                           ________________________________ (Seal)
                                                                                        - Borrower


________________________________                           ________________________________ (Seal)
                                                                                        - Borrower


___________________[Space Below This Line For Acknowledgment]___________________




PENNSYLVANIA--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT   Form 3039   1/01   (page 16 of 16 pages)
